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 9                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
10                                 SAN JOSE DIVISION
11                                                     Case No. 5:20-cv-08570-LHK
     MAXIMILIAN KLEIN, et al.,
12                                                     The Hon. Lucy H. Koh
                                       Plaintiffs,
13                                                     NOTICE OF VOLUNTARY
           v.
                                                       DISMISSAL OF PLAINTIFF
14                                                     ZAHARA MOSSMAN’S
     FACEBOOK, INC.,
                                                       INDIVIDUAL CLAIMS WITH
15                                                     PREJUDICE
                                       Defendant.
16

17         PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of
18 Civil Procedure, Plaintiff Zahara Mossman hereby dismisses her individual claims against

19 Defendant Facebook, Inc. in the above-captioned matter with prejudice. Voluntary dismissal is

20 appropriate given that Defendant has not served either an answer or a motion for summary

21 judgment.

22
     DATED: November 4, 2021                   AHDOOT & WOLFSON, PC
23
                                               /s/ Tina Wolfson
24                                             Tina Wolfson (CA 174806)
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           PLAINTIFF ZAHARA MOSSMAN’S NOTICE OF VOLUNTARY DISMISSAL
                            CASE NO. 5:20-cv-08570-LHK
